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 4                                 UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  ***
 7      STEVE HOOD,                                      Case No. 2:23-cv-01055-RFB-BNW
 8                        Plaintiff,                     Case No. 2:23-cv-01075-CDS-DJA
 9             v.
                                                                 CONSOLIDATION ORDER
10      FREDERICK G. THIEL, et al.,
11                      Defendants.
12
13      GARY KONIGSBERG,
14                        Plaintiff,
15             v.
16      FREDERICK G. THIEL, et al.,
17                      Defendants.
18
19
         I.   ORDER CONSOLIDATING CASES
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              On July 8, 2023, Plaintiff Steve Hood filed a shareholder derivative action behalf of
21
       Nominal Defendant Marathon Digital Holdings, Inc. in this Court, Case 2:23-cv-01055-RFB-
22
       BNW, alleging claims for breach of fiduciary duty, unjust enrichment, waste of corporate assets,
23
       and violations of Sections 14(a) of the Securities and Exchange Act (“SEA”) of 1934 against
24
       defendants Georges Antoun, Kevin A. DeNuccio, Hugh Gallagher, Sarita James, Jay Leupp, Doug
25
       Mellinger, Merrick Okamoto, Said Ouissal, Simeon Salzman, and Fred Thiel (collectively,
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       “Defendants”), and for contribution under Sections 10(b) and 21D of the SEA against certain of
27
       the Defendants. Four days later, Plaintiff Gary Konigsberg also filed a shareholder derivative
28
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 1     action on the Nominal Defendant’s behalf, asserting similar claims against the same Defendants
 2     for the same alleged conduct before the Honorable Cristina D. Silva, Case 2:23-cv-01075-CDS-
 3     DJA.
 4            Pursuant to Federal Rule of Civil Procedure 42(a) and Local Rule 42-1(b), district courts
 5     have the authority to consolidate cases involving common questions of law or fact. On July 31,
 6     2023, the parties filed in both actions a Stipulation to consolidate these cases pursuant to Federal
 7     Rule of Civil Procedure 42(a). See 2:23-cv-01055-RFB-BNW, ECF No. 32; 2:23-cv-01075-CDS-
 8     DJA, ECF No. 18. The undersigned district judges presiding over these cases have reviewed the
 9     record of both cases and find that the subject matter of, and parties to, the cases substantially
10     overlap. The undersigned district judges further find that judicial economy will be served by
11     transferring both cases to a single District Court Judge and Magistrate Judge.
12
13      II.   CONCLUSION
14            IT IS ORDERED that the above-referenced cases shall be consolidated.
15            IT IS FURTHER ORDERED that the parties’ Stipulations to Consolidate (2:23-cv-
16     01055-RFB-BNW, ECF No. 32; 2:23-cv-01075-CDS-DJA, ECF No. 18) are GRANTED. Cases
17     2:23-cv-01055-RFB-BNW and 2:23-cv-01075-CDS-DJA are consolidated, with Case 2:23-cv-
18     01055-RFB-BNW serving as the lead case. Further, all future filings in these cases shall be filed
19     in the lead case bearing the following caption: In re Marathon Digital Holdings, Inc. Derivative
20     Litigation, Lead Case No. 2:23-cv-01055-RFB-BNW.
21            IT IS FURTHER ORDERED that this Order shall apply to each shareholder derivative
22     action arising out of the same, or substantially the same, transactions or events as this consolidated
23     action, which is subsequently filed in, removed to, reassigned to, or transferred to this Court. When
24     a shareholder derivative action that properly belongs as part of In re Marathon Digital Holdings,
25     Inc. Derivative Litigation, Lead Case No. 2:23-cv-01055-RFB-BNW, is filed, removed, or
26     reassigned to this Court, or transferred here from another court, counsel will call the Clerk of
27     Court’s attention to the filing, removal, reassignment, or transfer of any case that might properly
28     be consolidated as part of In re Marathon Digital Holdings, Inc. Derivative Litigation, Lead Case



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 1     No. 2:23-cv-01055-RFB-BNW, and counsel will ensure that counsel in subsequent actions receive
 2     notice of this Order. Unless otherwise ordered, the terms of all orders, rulings, and decisions in
 3     this consolidated action shall apply to all later substantially similar shareholder derivative actions
 4     filed in this Court, removed or reassigned to this Court, or transferred here from another court.
 5            IT IS FURTHER ORDERED that within fourteen (14) days of consolidation and then
 6     selection of lead counsel for Plaintiffs in the consolidated action, the Parties shall meet and confer
 7     and submit a proposed schedule for the filing of a consolidated complaint and answers, motions to
 8     dismiss, and/or other responses.
 9
10            DATED: August 14, 2023
11
12                                                           ________________ ________________
                                                             RICHARD F. BOULWARE, II
13
                                                             UNITED STATES DISTRICT JUDGE
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15
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16                                                           CRISTINA D. SILVA
17                                                           UNITED STATES DISTRICT JUDGE

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